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   8
   9                       UNITED STATES DISTRICT COURT
  10                     CENTRAL DISTRICT OF CALIFORNIA
  11
  12 CHRISTOPHER PSAILA,                       Case No. 2:23-cv-07120-MWF (SKx)
  13              Plaintiff,                   REPRESENTATION STATEMENT
                                               BY DEFENDANTS ERIKA
  14        v.                                 GIRARDI, LAIA RIBATALLADA,
                                               AND MICHAEL MINDEN
  15 ERIKA GIRARDI aka ERIKA JAYNE,
     AMERICAN EXPRESS COMPANY,                 Filed Concurrently with Notice of
  16 ROBERT SAVAGE, KENNETH                    Appeal to the United States Court of
     HENDERSON, STEVE SCARINCE,                Appeals for the Ninth Circuit by
  17 PETER GRIMM, LAIA                         Defendants Erika Girardi, Laia
     RIBATALLADA, MICHAEL                      Ribatallada, and Michael Minden
  18 MINDEN, and DOES 1 TO 10,
     Inclusive,
  19                                           Action Filed: August 29, 2023
                Defendants.                    Trial Date: Not Assigned
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                                                            Case No. 2:23-cv-07120-MWF (SKx)
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   1        Pursuant to Ninth Circuit Rule 3-2, and in compliance with Rule 12(b) of the
   2 Federal Rules of Appellate Procedure, Defendants Erika Girardi, Laia Ribatallada,
   3 and Michael Minden file this Representation Statement identifying all parties to the
   4 action and contact information of their counsel, concurrently with their Notice of
   5 Appeal.
   6        Defendants and Appellants Erika Girardi, Laia Ribatallada, and Michael
   7 Minden are represented by:
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     Heejin H. Hwang (CA State Bar No. 349455)             Girardi, Laia Ribatallada, and
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  14        Plaintiff and Appellee Christopher Psaila is represented by:
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                Mr. Borges is registered for Electronic Filing in the Ninth Circuit.
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                                     REPRESENTATION STATEMENT
Case 2:23-cv-07120-MWF-SK Document 80 Filed 03/08/24 Page 3 of 6 Page ID #:1945




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       DATED: March 8, 2024            GREENBERG GROSS LLP
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   8
   9                                   By:
  10                                         Evan C. Borges
                                             Heejin H. Hwang
  11
                                             Attorneys for Defendants Erika Girardi,
  12                                         Laia Ribatallada, and Michael Minden
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                                             -3-             Case No. 2:23-cv-07120-MWF (SKx)
                                REPRESENTATION STATEMENT
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   1                                PROOF OF SERVICE
   2                      Christopher Psaila v. Erika Girardi, et al.
                            Case No. 2:23-cv-07120-MWF (SKx)
   3
       STATE OF CALIFORNIA, COUNTY OF ORANGE
   4
            At the time of service, I was over 18 years of age and not a party to this
   5 action. I am employed in the County of Orange, State of California. My business
     address is 650 Town Center Drive, Suite 1700, Costa Mesa, CA 92626.
   6
            On March 8, 2024, I served true copies of the following document(s)
   7 described as REPRESENTATION STATEMENT BY DEFENDANTS ERIKA
     GIRARDI, LAIA RIBATALLADA, AND MICHAEL MINDEN on the
   8 interested parties in this action as follows:
   9                         SEE ATTACHED SERVICE LIST
  10        BY CM/ECF NOTICE OF ELECTRONIC FILING: I electronically filed
     the document(s) with the Clerk of the Court by using the CM/ECF system.
  11 Participants in the case who are registered CM/ECF users will be served by the
     CM/ECF system. Participants in the case who are not registered CM/ECF users will
  12 be served by mail or by other means permitted by the court rules.
  13       I declare under penalty of perjury under the laws of the United States of
     America that the foregoing is true and correct and that I am employed in the office
  14 of a member of the bar of this Court at whose direction the service was made.
  15        Executed on March 8, 2024, at Costa Mesa, California.
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  17
                                                Cheryl Winsten
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                                   REPRESENTATION STATEMENT
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   1                                SERVICE LIST
                        Christopher Psaila v. Erika Girardi, et al.
   2                      Case No. 2:23-cv-07120-MWF (SKx)
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                                 REPRESENTATION STATEMENT
